




NO. 07-07-0387-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



SEPTEMBER 25, 2007

______________________________





ANNMARIE ADKINS, 



Appellant



v.



THE STATE OF TEXAS, 



Appellee



_________________________________



FROM THE 108
TH
 DISTRICT COURT OF POTTER COUNTY;



NO. 51,543-E; HON. RICHARD DAMBOLD, PRESIDING

_______________________________



Abatement and Remand

_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Annmarie Adkins (appellant), acting pro se, perfected appeal from her conviction for engaging in organized criminal activity. &nbsp;In response to notice from this court that no docketing statement had been filed, appellant advised the court that she desired to prosecute her appeal but requested “some assistance” to do so. &nbsp;Furthermore, appellant advised that she had been unable to contact trial counsel in assisting her with the appeal. &nbsp;The record has not been filed, and is not due until on or about November 5, 2007.

Accordingly, we now abate this appeal and remand the cause to the 108
th
 District Court of Potter County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:

1. &nbsp;whether appellant desires to continue to prosecute this appeal; 



2. &nbsp;whether retained trial counsel, Eric Coats, will continue to represent appellant on appeal; and, &nbsp;



3. &nbsp;if not, whether appellant is indigent and entitled to the appointment of counsel and the preparation of a free clerk’s record and court reporter’s record.



The trial court shall cause the hearing to be transcribed. &nbsp;Should it be determined that appellant is entitled to appointed counsel and does not have counsel, the trial court shall appoint counsel to prosecute this appeal. &nbsp;The trial court shall also execute findings of fact and conclusions of law addressing the aforementioned issues, and cause same to be included in a supplemental clerk’s record. &nbsp;Also to be included in the findings is the name, address, state bar number, telephone and telefax number of appellant’s counsel, should one be appointed by the trial court. &nbsp;Finally, the trial court shall file the supplemental clerk’s record and the transcription of the hearing with the Clerk of this Court on or before October 25, 2007. &nbsp;
Should additional time be needed to perform these tasks, the district court may request same on or before October 25, 2007. 

Per Curiam

Do not publish.


